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United States District Court

104 N. Third St

Lufkin, TX 75901


To Whom It may Concern:

In reference to Case # 9:20CV43 for Edward Herrera TDC #585206. His
former address was Jester 3 Unit in Richmond, TX but he is now in
Hospice at the Carole Young Medical Facility TDCJ, 5509 Attwater Ave.
Dickinson, TX 77539.

Please forward any correspondence regarding his case to the Carole
Young Unit.

For any questions you may contact Peggy Herrera (wife) at 512-758-
3292.



Thank You.

Peggy Herrera

3366 State Hwy 19, Lot 5

Huntsville, TX 77320
 Case 9:20-cv-00043-RC-CLS Document 3 Filed 08/31/20 Page 2 of 4 PageID #: 97
                      STATUTORY DURABLE POWER OF AT ORNE


             / /( ?/?( / / 9 my Social Security Number being
         3/- L/ f3 ' appoint / g z& //< /?/? ocated at
        jy/ oy tv        S      _ County in
the State of      ,   as my agent to act for me in any lawful
way with respect to the follo ing initialed subject.


A) Real Property Transactions
B) Tangible Personal Property Transactions
C) Stock and Bond Transactions
D) Commodity and Option Transactions
E) Banking and other Financial Institution Transactions
F) Business Operating Transactions
G) Insurance and Annuity Transactions
H) Estate, Trust, and other Beneficiary Transactions
I) Claims and Litigation
J) Personal and Family Maintenance
K) Benefits from Social Security, Medicare, Medicaid, or other Governmental
    Programs or Civil or Military Service
L) Retirement Plan ransactions
M) Tax Matters
N) All of the powers listed in A-M


Unless you direct other ise above, this Power of Attorney is effective i med¬
iately and will continue until it is revoked.


This Power of Attorney is not affected by my subsequent disability or incapacity.




Signed this S Day of




Signature
 Case 9:20-cv-00043-RC-CLS Document 3 Filed 08/31/20 Page 3 of 4 PageID #: 98

State of
County of Ptfh SZZJ

Signed under oath before me on                 h/oif<?j ~     f- <y(0/9 by
 && N          , Respondent, personally known to                                   e
and or identified by Offender Identification Number                                .


               MS. LAURIE GILBERT
                     10# 13098837-8
               Notary P.ubMc, State of Texas
                 My Commis ion E pires
                       01/27/2021                   otary Public, State of Texas
           Notar Without Bond



I, the Notary Public hose signature appears above, certify that I am not an
attorney in this case.
Case 9:20-cv-00043-RC-CLS Document 3 Filed 08/31/20 Page 4 of 4 PageID #: 99




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